                                           Case 3:20-cv-00959-SI Document 190 Filed 02/14/23 Page 1 of 3




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STARR INDEMNITY & LIABILITY                       Case No. 20-cv-00959-SI
                                         COMPANY,
                                   8
                                                        Plaintiff,                         JUDGMENT
                                   9
                                                 v.
                                  10
                                         AMGUARD INSURANCE COMPANY,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          This matter came before the Court for Phase I of a bench trial, which was held on April 11-

                                  14   13, 2022. Plaintiff and counter-defendant Starr Indemnity & Liability Company (“Starr”) asserts

                                  15   claims for declaratory relief, equitable contribution, equitable subrogation and equitable indemnity

                                  16   against defendant and third party plaintiff and counterclaimant AmGUARD Insurance Company

                                  17   (“AmGUARD”). Starr and AmGUARD issued policies to Zoriall LLC covering different time

                                  18   periods, and Starr seeks a declaration that AmGUARD had a duty to defend Zoriall LLC and its

                                  19   members Anne Kihagi and Christine Mwangi (collectively “Zoriall Defendants”) in four underlying

                                  20   lawsuits brought against the Zoriall Defendants.

                                  21          AmGUARD filed a Counterclaim against Starr and a Third Party Complaint against Zoriall

                                  22   LLC, Anne Kihagi, Christina Mwangi, Dale Duncan (“Duncan”) and Marta Munoz Mendoza

                                  23   (“Mendoza”). AmGUARD’s Counterclaim and Third Party Complaint seek to rescind the policy

                                  24   AmGUARD issued to Zoriall based on misrepresentation in Zoriall’s insurance application.

                                  25   AmGUARD also seeks declaratory relief regarding its defense and indemnity obligation, and

                                  26   AmGUARD asserts numerous affirmative defenses to Starr’s claims.

                                  27          This Court bifurcated the bench trial with Phase I focused on AmGUARD’s claim for

                                  28   rescission and affirmative defenses of misrepresentation, fraud and concealment, as well as Starr’s
                                           Case 3:20-cv-00959-SI Document 190 Filed 02/14/23 Page 2 of 3




                                   1   defenses thereto. In accordance with Federal Rule of Civil Procedure 52(a), the Court issued its

                                   2   Findings of Facts and Conclusions of Law on January 24, 2023. Dkt. No. 186. Pursuant to its

                                   3   Findings of Facts and Conclusions of Law, the Court concludes that AmGUARD is entitled to

                                   4   judgment in its favor and against Starr, Zoriall LLC, Anne Kihagi, Christina Mwangi, Duncan and

                                   5   Mendoza.

                                   6          IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT AmGUARD shall

                                   7   have judgment in its favor and against Starr and Third Party Defendants Zoriall LLC, Anne Kihagi,

                                   8   Christine Mwangi, Dale Duncan and Marta Munoz Mendoza (collectively, “Third Party

                                   9   Defendants”) and each of them, on its Rescission and Declaratory Relief claims, as follows:

                                  10          1. Due to the material misrepresentation in Zoriall LLC’s insurance application regarding

                                  11   the existence of prior litigation, the policy issued by AmGUARD to the named insured Zoriall LLC,

                                  12   policy number Z0BP601626 effective July 20, 2015 to July 20, 2016 (“AmGUARD Policy”) is void
Northern District of California
 United States District Court




                                  13   ab initio and hereby rescinded.

                                  14          2. AmGUARD has no duty to defend or to indemnify Zoriall LLC, Anne Kihagi and

                                  15   Christina Mwangi (collectively “Zoriall Defendants”) with respect to the action titled Duncan v.

                                  16   Kihagi, San Francisco Superior Court, Case No. CGC15-545655 (“Duncan I”) under the

                                  17   AmGUARD Policy.

                                  18          3. AmGUARD has no duty to defend or to indemnify the Zoriall Defendants with respect

                                  19   to the action titled Duncan v. Kihagi, San Francisco Superior Court, Case No. CGC 16-551512

                                  20   (“Duncan II”) under the AmGUARD Policy.

                                  21          4. AmGUARD has no obligation to pay any judgment, costs and/or attorneys’ fees awarded

                                  22   against the Zoriall Defendants in Duncan I and Duncan II.

                                  23          5. AmGUARD has no duty to defend or to indemnify the Zoriall Defendants with respect

                                  24   to the action titled Smyth v. Kihagi, San Francisco Superior Court, Case No. CGC-15-546973

                                  25   (“Smyth I”) under the AmGUARD Policy.

                                  26          6. AmGUARD has no duty to defend or to indemnify the Zoriall Defendants with respect

                                  27   to the action titled Smyth v. Kihagi et al., San Francisco Superior Court, Case No. CGC 16-553236

                                  28   (“Smyth II”) under the AmGUARD Policy.
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                                           Case 3:20-cv-00959-SI Document 190 Filed 02/14/23 Page 3 of 3




                                   1          7. Because the AmGUARD Policy is void ab initio, AmGUARD has no duty to defend or

                                   2   to indemnify the Zoriall Defendants with respect to Smyth I, Smyth II, Duncan I and Duncan II,

                                   3   Starr’s claims for reimbursement, contribution and subrogation against AmGUARD are dismissed.

                                   4   Starr is not entitled to any reimbursement, contribution, subrogation or indemnity from AmGUARD

                                   5   with respect to the defense fees and costs and the settlement amount paid with respect to Smyth I

                                   6   and Smyth II because the AmGUARD Policy is void ab initio and rescinded; and Starr is not entitled

                                   7   to any reimbursement, contribution, subrogation or indemnity from AmGUARD with respect to the

                                   8   defense fees and costs incurred with respect to Duncan I and Duncan II because the AmGUARD

                                   9   Policy is void ab initio and rescinded.

                                  10          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Starr and Third Party

                                  11   Defendants shall take nothing.

                                  12
Northern District of California
 United States District Court




                                  13   Dated: February 14, 2023                    ______________________________________
                                                                                     SUSAN ILLSTON
                                  14                                                 United States District Judge
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